         Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 1 of 9 PageID #: 14


                                                             Mail to: Office of Accident Records, 118 W. Capitol
  STATE OF SOUTH DAKOTA INVESTIGATOR'S MOTOR                 Ave., Pierre, SD 57501
        VEHICLE TRAFFIC ACCIDENT REPORT                      TraCS                    TraCS Sequence:
                                                             ID: 153366-099           1902050021
Form DPS - ARl 12/12/2014                                    Agency Use               Report Type
  Is this only a Wild Animal Hit   Agency Name               Date of Accident         Time of Accident
Report?                            SD HIGHWAY PATROL          02/01/2019              18:55 Hrs.
                                   Reporting Officer First   Reporting Officer
Reporting Officer Last Name                                                           Reporting Officer #
                                    ame                      Middle Name
SIEVE                                                                                 099-153366
                                   LUCAS


   Location Description ON I 90 E 0.22 MILES WEST OF I 90 El
  Latitude 43.605644                         Longitude -96. 701745
                     County Name 50 -        City or Rural 1225 -      Roadway Surface
L County 50         MINNEHAHA                Sioux Falls              Condition 03 - Snow
0
                                                                Roadway Surface Type 01 -
C On Road, Street, or Highway I 90 E
                                                                (;oncrete
A
                                                                Roadway Align/Grade 01 - Straight
T At Intersection with
                                                                and level
I
                     Units Miles/ Direction  MRM                Relation to Junction 05 -
0 Distance 0.4567
                    Tenths         bf East   (milepost) 399.56 Intersection related
N
                                   Direction
  Distance           Units                   Distance           Units Direction of
                                   and
  Junction or I:µtersecting Street           Name of Junction, Road, Street, or Highway

               V




                                                                                                  Exhibit 1-1
         Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 2 of 9 PageID #: 15

    Unit Type 01 - Motor vehicle in transport with driver                     Hit and Run 02 -No
    Driver's Name - Last HOPKINS         First NICHOLAS         Middle JEROME
    Address 13 PLUM PL                            Address (Line 2)
                                         State                  Date of Birth
    City SCRANTON                                 Zip 18509                   Sex 1 - Male
                                          PA                    02/25/1959
                                                  Non - Motorist Location 96 - Not Applicable
    Phone 5708801195jDL State PAjDL Class A Non - Motorist Action 96 - Not Applicable
    DL Status 01 - Normal within restrictions Non - Motorist Contributing Circumstances (Up to
    Driver Contributing Circumstances (Up to     Two) 96 - Not Applicable
   lfwo) 01 - Failed to yield to vehicle          Drug Use               Drug Test
    Vision Contributing Circumstance 01 -         00 - None used          02 - Test not given
   [Weather condition                             Alcohol Use            Alcohol Test
                                                  00 - None used          91 - Test not given
   Injury Status 05 - No injury                   Ejection 00 - Not ejected
    Saftey Equipment 03 - Lap belt and
                                                  Citation Charge? 01 - Yes
   shoulder harness used
                                                  Citation # 1 32-26-6 - LANE DRIVING
    Seating Position 01 - Operator
                                                 :U.QUIRED / ILLEGAL LANE CHANGE
   Air Bag Deployed 00 - Not deployed
                                                 Citation #2
   Transported To
                                                 Citation #3
   Source of Transport 00 - Not Transported
                                                 Citation #4
 u Is Driver the Owner No
 N Owner's Name - Last LLC               First TEAM             Middle BIONDI
 I !Address 248 EASTON TURNPIKE
 T LAKE                                            Address (Line 2)
                                          State
     City ARIEL                                    Zip 18436     Red Tag A502086
                                          PA
                        Make Kenworth
001 Year 2020           -KEWT
                                      Model TT                   VIN 1XKYDP9X2GJ115451

                                                                    Estimated   Speed- How
                                          State
        License Plate # AG48074                       Year 2019 rrravel Speed Estimated? 02 - Driver
                                          PA
                                                                    70          Statement
                           Total Occupants            Damage Extent 01 -
       Speed Limit 65                                                           Vehicle Towed 02 -No
                            1                        Minor Damage
                                                      Insurance Co. Name 21962 - PENNSYLVANIA
       Damage Amount (Vehicle and Contents) 200
                                                     lNSURANCE COMPANY
                                                                    Effective
                                                                                Expiration Date 04/13/
       Insurance Policy # 40088                                    Date 04/13/
                                                                                2019
                                                                   2018
       Emergency Vehicle Use? 02 - No                Vehicle Configuration 21 - Tractor/semi-trailer
       Trailer Type 01 - Semi-trailer/double/triple Cargo Body Type
                                           Trailer LP # Attached
       Direction of Travel Before Crash 03
                                           lo Power Unit            State PA    Year 2019
     ,.. Eastbound
                                            PT074A4
       Initial Point of    Most  Damaged
                                           Trailer 2 License Plate
     Impact 01 -          !Area 01 -                                State       Year
                                           #
     Position 1            Position 1
      Underride/Override 00 - No           Trailer 3 License Plate
                                                                    State       Year
     underrideoroverride                   #
                                                                                           Exhibit 1-2
    Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 3 of 9 PageID #: 16


Traffic Control Device Type 00 - No controls Vehicle Contributing Circumstance 00 - None
Vehicle Maneuver 01 - Straight ahead             Road Contributing Circumstance 00-None
First Event 25 - Motor vehicle in transport Second Event
Third Event                                      Fourth Event
Most Harmful Event for this Vehicle 25 - Motor vehicle in transport
 ? Does the accident involve one or more of the -
following:                                         Did the accident result in one or more of the
                                                following:
      • a truck having a GCWR of 10,001 or
        more pounds; OR                               • a fatality; OR
      • a vehicle displaying a hazardous              • an injury requiring transportation for
        material placard; OR                             immediate medical attention; OR
      • a vehicle designed to transport 9 or          •  a vehicle was disabled requiring a towaway
        more people, including driver                    from the scene

Accident Involved Vehicle - Purpose             Carrier Name
Street Address                                  Street Address (Line 2)
                                                US DOT#
City               State              Zip                    GVWR           GCWR
                                                98
Hazardous          Hazardous
                                    Hazardious Material
Material Released? Material Content                           Hazardous Materials Description
                                    Class Code
                   Code




                                                                                         Exhibit 1-3
         Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 4 of 9 PageID #: 17


                                                             Mail to: Office of Accident Records, 118 W. Capitol
  STATE OF SOUTH DAKOTA INVESTIGATOR'S MOTOR                 Ave., Pierre, SD 57501
        VEHICLE TRAFFIC ACCIDENT REPORT                      TraCS                    TraCS Sequence:
                                                             ID: 153366-099           1902050021
Form DPS - ARl 12/12/2014                                    Agency Use               Report Type
  Is this only a Wild Animal Hit   Agency Name               Date of Accident         Time of Accident
Report?                            SD HIGHWAY PATROL          02/01/2019              18:55 Hrs.
                                   Reporting Officer First   Reporting Officer
Reporting Officer Last Name                                                           Reporting Officer #
                                    ame                      Middle Name
SIEVE                                                                                 099-153366
                                   LUCAS


   Location Description ON I 90 E 0.22 MILES WEST OF I 90 El
  Latitude 43.605644                         Longitude -96. 701745
                     County Name 50 -        City or Rural 1225 -      Roadway Surface
L County 50         MINNEHAHA                Sioux Falls              Condition 03 - Snow
0
                                                                Roadway Surface Type 01 -
C On Road, Street, or Highway I 90 E
                                                                (;oncrete
A
                                                                Roadway Align/Grade 01 - Straight
T At Intersection with
                                                                and level
I
                     Units Miles/ Direction  MRM                Relation to Junction 05 -
0 Distance 0.4567
                    Tenths         bf East   (milepost) 399.56 Intersection related
N
                                   Direction
  Distance           Units                   Distance           Units Direction of
                                   and
  Junction or I:µtersecting Street           Name of Junction, Road, Street, or Highway

               V




                                                                                                  Exhibit 1-1
         Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 5 of 9 PageID #: 18

    Unit Type 01 - Motor vehicle in transport with driver                     Hit and Run 02 -No
    Driver's Name - Last HOPKINS         First NICHOLAS         Middle JEROME
    Address 13 PLUM PL                            Address (Line 2)
                                         State                  Date of Birth
    City SCRANTON                                 Zip 18509                   Sex 1 - Male
                                          PA                    02/25/1959
                                                  Non - Motorist Location 96 - Not Applicable
    Phone 5708801195jDL State PAjDL Class A Non - Motorist Action 96 - Not Applicable
    DL Status 01 - Normal within restrictions Non - Motorist Contributing Circumstances (Up to
    Driver Contributing Circumstances (Up to     Two) 96 - Not Applicable
   lfwo) 01 - Failed to yield to vehicle          Drug Use               Drug Test
    Vision Contributing Circumstance 01 -         00 - None used          02 - Test not given
   [Weather condition                             Alcohol Use            Alcohol Test
                                                  00 - None used          91 - Test not given
   Injury Status 05 - No injury                   Ejection 00 - Not ejected
    Saftey Equipment 03 - Lap belt and
                                                  Citation Charge? 01 - Yes
   shoulder harness used
                                                  Citation # 1 32-26-6 - LANE DRIVING
    Seating Position 01 - Operator
                                                 :U.QUIRED / ILLEGAL LANE CHANGE
   Air Bag Deployed 00 - Not deployed
                                                 Citation #2
   Transported To
                                                 Citation #3
   Source of Transport 00 - Not Transported
                                                 Citation #4
 u Is Driver the Owner No
 N Owner's Name - Last LLC               First TEAM             Middle BIONDI
 I !Address 248 EASTON TURNPIKE
 T LAKE                                            Address (Line 2)
                                          State
     City ARIEL                                    Zip 18436     Red Tag A502086
                                          PA
                        Make Kenworth
001 Year 2020           -KEWT
                                      Model TT                   VIN 1XKYDP9X2GJ115451

                                                                    Estimated   Speed- How
                                          State
        License Plate # AG48074                       Year 2019 rrravel Speed Estimated? 02 - Driver
                                          PA
                                                                    70          Statement
                           Total Occupants            Damage Extent 01 -
       Speed Limit 65                                                           Vehicle Towed 02 -No
                            1                        Minor Damage
                                                      Insurance Co. Name 21962 - PENNSYLVANIA
       Damage Amount (Vehicle and Contents) 200
                                                     lNSURANCE COMPANY
                                                                    Effective
                                                                                Expiration Date 04/13/
       Insurance Policy # 40088                                    Date 04/13/
                                                                                2019
                                                                   2018
       Emergency Vehicle Use? 02 - No                Vehicle Configuration 21 - Tractor/semi-trailer
       Trailer Type 01 - Semi-trailer/double/triple Cargo Body Type
                                           Trailer LP # Attached
       Direction of Travel Before Crash 03
                                           lo Power Unit            State PA    Year 2019
     ,.. Eastbound
                                            PT074A4
       Initial Point of    Most  Damaged
                                           Trailer 2 License Plate
     Impact 01 -          !Area 01 -                                State       Year
                                           #
     Position 1            Position 1
      Underride/Override 00 - No           Trailer 3 License Plate
                                                                    State       Year
     underrideoroverride                   #
                                                                                           Exhibit 1-2
    Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 6 of 9 PageID #: 19


Traffic Control Device Type 00 - No controls Vehicle Contributing Circumstance 00 - None
Vehicle Maneuver 01 - Straight ahead             Road Contributing Circumstance 00-None
First Event 25 - Motor vehicle in transport Second Event
Third Event                                      Fourth Event
Most Harmful Event for this Vehicle 25 - Motor vehicle in transport
 ? Does the accident involve one or more of the -
following:                                         Did the accident result in one or more of the
                                                following:
      • a truck having a GCWR of 10,001 or
        more pounds; OR                               • a fatality; OR
      • a vehicle displaying a hazardous              • an injury requiring transportation for
        material placard; OR                             immediate medical attention; OR
      • a vehicle designed to transport 9 or          •  a vehicle was disabled requiring a towaway
        more people, including driver                    from the scene

Accident Involved Vehicle - Purpose             Carrier Name
Street Address                                  Street Address (Line 2)
                                                US DOT#
City               State              Zip                    GVWR           GCWR
                                                98
Hazardous          Hazardous
                                    Hazardious Material
Material Released? Material Content                           Hazardous Materials Description
                                    Class Code
                   Code




                                                                                         Exhibit 1-3
         Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 7 of 9 PageID #: 20

     Unit Type 01 - Motor vehicle in transport with driver                       Hit and Run 02 -No
     Driver's Name - Last AGETON             First TERI          Middle SUZANE
     Address 109 W ALPINE CIR                        Address (Line 2)
                                             State               Date of Birth
     City BRANDON                                    Zip 57005                   Sex 2 - Female
                                             SD                   11/03/1964
                                                      Non - Motorist Location 96 - Not Applicable
                                                      Non - Motorist Action 96 - Not Applicable
     Phone 6053102633 IDL State SD IDL Class 1
                                                      Non - Motorist Contributing Circumstances (Up to
     DL Status 01 - Normal within restrictions
                                                     Two) 96 - Not Applicable
     Driver Contributing Circumstances (Up to Two)
                                                      Drug Use              Drug Test
      00 - None
                                                      00 - None used         02 - Test not given
     Vision Contributing Circumstance 00 - None
                                                     Alcohol Use            Alcohol Test
                                                      00 - None used         91 - Test not given
     Injury Status 05 - No injury                    Ejection 00 - Not ejected
     Safley Equipment 03 - Lap belt and shoulder
     harness used                                    Citation Charge? 02-No
     Seating Position 01 - Operator                  Citation #1
     Air Bag Deployed 00 - Not deployed              Citation #2
     Transported To                                  Citation #3
     Source of Transport 00 - Not Transported        Citation #4
 u   Is Driver the Owner Yes
 N Owner's Name - Last AGETON               First TERI           Middle SUZANE
 I Address 109 W ALPINE CIR                          Address (Line 2)
 T                                          State
     City BRANDON                                    Zip 57005 Red Tag A502083
                                             SD
                         Make Chevrolet - Model MONTE
     Year 1999                                                   VIN 2G1WW12M4X9202993
                         CHEV               CARLO
002                                                                             Speed- How
                                            State                Estimated
     License Plate # 1H6794                          Year 2019                  Estimated? 05 - No
                                             SD                  Travel Speed
                                                                                Estimate
                                                     Damage Extent 01 -         Vehicle Towed 02 -
     Speed Limit 65      Total Occupants 1
                                                     Minor Damage               No
                                                     Insurance Co. Name 25151 - STATE FARM
    Damage Amount (Vehicle and Contents) 2000
                                                     GENERAL INSURANCE COMPANY
                                                                 Effective Date Expiration Date 07 /
    Insurance Policy# 098 2738 A20 41G
                                                                 01/20/2019 20/2019
    Emergency Vehicle Use?                           Vehicle Configuration 01 - Passenger car
    Trailer Type 00 - No trailer/attachment          Cargo Body Type 00 - No cargo body
                                            Trailer LP#
    Direction of Travel Before Crash 03 -
                                            Attached to Power State             Year
    Eastbound
                                            Unit
    Initial Point of     Most Damaged
                                            Trailer 2 License
    Impact 08 -          Area 08 - Position                      State          Year
                                            Plate#
    Position 8           8
    Underride/Override 00 - No underride Trailer 3 License
                                                                 State          Year
   ~r override                              Plate#
    Traffic Control Device Type 00 - No controls Vehicle Contributing Circumstance 00- None
    Vehicle Maneuver 01 - Straight ahead             Road Contributing Circumstance 00 - None
                                                                                           Exhibit 1-4
             Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 8 of 9 PageID #: 21

      First Event 25 - Motor vehicle in transport      Second Event 04 - Ran off road left
      Third Event                                      Fourth Event
      Most Harmful Event for this Vehicle 25 - Motor vehicle in transport
         Does the accident involve one or more of the -
      following:                                         Did the accident result in one or more of the
                                                      following:
             • a truck having a GCWR of 10,001 or
               more pounds; OR                                  • a fatality; OR
             • a vehicle displaying a hazardous material        • an injury requiring transportation for
               placard; OR                                       immediate medical attention; OR
             • a vehicle designed to transport 9 or more        • vehicle was disabled requiring a
                                                                 a
               people, including driver                          towaway from the scene

      Accident Involved Vehicle - Purpose                  Carrier Name
      Street Address                                       Street Address (Line 2)
                                                           US DOT#
      City                     State            Zip                   GVWR              GCWR
                                                           98
                                            Hazardious
      Hazardous Material Hazardous Material
                                            Material Class Code Hazardous Materials Description
      Released?          Content Code


 Work Zone Related? 02 - No               First Harmful Event? 25 - Motor vehicle in transport
 Workers Present?
                                          Location of First Harmful Event 01 - On roadway
 Work Zone 96 - Not Applicable
 Work Zone Location 96 - Not             Trafficway Description 03 - Two-way, divided, unprotected
!Applicable                              (painted >4 feet) median
 Manner of Collision 04 - Sideswipe,
                                          Light Condition 03 - Dark - lighted roadway
~ame direction
 School Bus Related? 00 - No             Weather Conditions (up to two) 05 - Snow

DO Damaged Object (Property Other Than Vehicles)                               Estimate of Damage
AB Owner's Full Name - Last                    First Name                      Middle Name
MJ Address                                     Address (Line 2)
AE
G C
      City                                            State                    Zip
ET
D

I p Unit#             !Last Name             First Name                          IMiddle Name
NE Address                                   Address (Line 2)
J R City              !state                 Zip      !Date of Birth             !sex
u s Injury Status                            Ejection
RO Seating Position                          Safety Equipment
E N Air Bag Deployed                         Source of Transport
D   Transported to                           EMS Trip#




                                                                                                  Exhibit 1-5
           Case 4:21-cv-04148-KES Document 1-1 Filed 08/25/21 Page 9 of 9 PageID #: 22




    4)
    NOTTO SCALE




                                              I-


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     . _ _ I             ► ►~ D~~:~~
A
G
R
A
M              190EASTBOUNO-------➔
                                  --




                                          NARRATIVE
UNIT 1 WAS TRAVELING EASTBOUND ON I 90 NEAR MILE MARKER 399 WHEN IT
COLLIDED WITH THE REAR END OF UNIT 2 ON I 90. UNIT 2 CONTINUED INTO THE
MEDIAN AND CAME TO A REST.

w Last Name                      First Name                    Middle Name
I Address
T Address (Line 2)
N
E
    City                         State             Zip         Phone#
s
s
                                                         Date Arrived 02/01/ Time Arrived
Date Notified 02/01/2019 Time Notified 18:55 Hrs.
                                                         2019                18:55Hrs.
Agency Type 01 - Highway Investigation Made at Scene?                        Date Approved 02/
                                                         Photos Taken? N
patrol                    01 - Yes                                          !05/2019
     Approval Officer    Last Name WOSJE                 First Name MATT Middle Name



                                                                                       Exhibit 1-6
